Case 2:03-cv-02827-.]DB-dkv Document 27 Filed 08/22/05 Page 1 of 2 Page|D 45

  

IN THE UNITED STATES DISTRICT COURT Fi|.ED B"f' sg&‘ D-C~
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVIsloN 05 AUB 22 PH 2= 36
FANNIE L. BOLDEN, on her THO§‘»:{'SA:?»;.
behalf and all others similarly U~EE{`;§ Uf.\g_.y-H _ l
Situated, w\/D [\."Y i . i ."¢"
Plaintifl",
v. No. 03-2827
AAMES FUNDMG CORI’., and
AAMES HOME LOANS,
Defendants.

 

ORDER TO SHOW CAUSE

 

Before the Court is the July 11, 2005 renewed motion for summary judgment by the
Defendants, Aarnes Funding Corp. and Aames Home Loans, against Plaintiff, Fannie L.
Bolden. According to the Court’s docket, no response has been filed on behalf of the Plaintiff, even
though the deadline for such a response has expired.] Accordingly, the Plaintiff is hereby directed,
Within eleven (l l) days of the entry hereof, to show cause Why the motion referenced herein should
not be granted Failure of the Plaintiff to comply in a timely manner With this order may result in

dismissal With prejudice of Plaintiff’s claims.

IT IS SO ORDERED this E`Lday ofAugust, 2005.

 

J. IEL BREEN \
U IT D sTATEs DISTRICT JUDGE

 

lUnder the Local Rules of this district, responses to motions for summary judgment "must
be filed within thirty days of service of the motion." LR7.2, Local Rules of the U.S. Dist. Ct. for

the W. Dist. ofTenn.
Th|s document entered on the docket hee ' comp|i rice
with mile ss and/ur rem FHCP on 8" §h/ 05

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:03-CV-02827 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

Stephen P. Hale

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

l\/lemphis7 TN 38103

Christopher Lee BroWn

GOTTEN WILSON SAVORY & BEARD, PLLC
88 Union Ave.

14th Floor

l\/lemphis7 TN 38103

Buffey Klein

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

